        Case 1:22-cv-04011-AS-JW Document 73 Filed 07/18/23 Page 1 of 1
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                                                               July 18, 2023

Via ECF
The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
40 Foley Square
New York, NY 10007

Re:    Milagros Franco v. 380 Second LLC et al Docket No. 1:22-cv-04011 (PAE)(JW)

Dear Judge Engelmayer:

        We represent plaintiff Milagros Franco in the above-entitled action. We write to
respectfully ask the Court to extend plaintiff’s time, from July 21, 2023 to July 28, 2023, to
respond to defendants’ letter applications to make a motion for summary judgment on mootness
and standing grounds. The reason for this request is because plaintiff’s counsel has pre-existing
obligations until Friday July 21, 2023.

       This is the first application to extend plaintiff’s time and all parties consent to this
application. The requested extension does not affect any other scheduled dates.

       Thank you for your time and attention to this matter.

                                                               Respectfully,

                                                                      /s/
                                                               Robert G. Hanski, Esq.
